                          EXHIBIT 3-C
         BON Report Non-Disciplinary




Case 4:24-cv-00051-M-RN    Document 33-5   Filed 06/18/24   Page 1 of 5
                                        Law Office of
                                  Vicki F. Goldstein, PLLC

                                         3455 Polo Road
                                   Winston-Salem, NC 27106

 Vicki F. Goldstein                                                        Telephone: (336) 765-3300
 Attorney at Law                                                           Facsimile: (336) 793-4848
 Registered Nurse (fLJjocnse)                                              Email: vickifgoldstein@gmail.com


                                       September 18, 2014


 Mary Howard, RN, BSN
 NC Board-of Nursing
 P.O. Box 2129
 Raleigh, NC 27602

           Re:    Linda Brixon
                  Certificate#: 115824

 Dear Ms. Howard:

       Please find attached the North Carolina Board of Nursing Non-Disciplinary
 Consent Order for Linda Brixon, which has been fully executed.

         Also attached are two (2) Certificates of Completion for the two courses required
 pursuant to the Consent Order. Ms. Brixon completed Sharpening Critical Thinking
 SkiJJs and Professional _Accountability and LegaJ Liability for Nurses.

           Please verify receipt of these documents. Thank you for all your assistance. in this
 matter.


                                                                           Very truly yours,


                                                                        ~~ Vicki F. Goldstein
 Encl.
 Cc: Linda Brixon




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                                                        .\· •· .:-.-   ~·. r ... ~·::·,: ·• ' ·:...•. •
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Peggy C. Walters, EdD, MS N, MEd, NEA~BC                                                                          P.O. Box 2129
Chai l'                                                                                           Raleigh. North Carolina .27602
Ma nha Ann Harrell, Public Member                                                                                  919.782.3211
Vice-Chair   .•                                                                                               FAX 919.781.9461
Julia L George:, RN, MSN, FRE                                                                Nurse Aide II ~gistry 919 .782.7499
&i:culill( Dirmor                                                                                               www.ncbon.com




                September 3, 2014·

                Vicki F. Goldstein, PLLC
                Attorney at.Law
                3455 Polo Road
                Winston-Salem. NC 27106

                Re: Non-Disciplinary Consent Order for Linda Leathers Brixon, RN

                Dear Ms. Goldstein:

                       Enclosed is the Letter of Charges we are required to send under 21 NCAC 36
                .0217(g} notifying Ms. Brixon of the complaint, investigation and options for resolution
                along with other items of infonnation . .We have also included a Non-Disciplinary


                Consen:::::rfeel free to call me with ariy questiqr\s <>r conce:.            ~
                                                                              . .·'
                                                                                 "

               Mary E. Howard, RN,.BSN '
               Certified Investigator ' ·:-. .                   .
                                                              ' ,_
               North Carolina Board,of,~!Jfsir,ig .
               mhoward@ncbon.com -~~1
               (919) 782-3211 ext. 237 ••. • .

               Enc:     Letter of Charges.to Licensee
                        Non-Disciplinary Consent'Grder
                        Request for Setttenier:it/Administrative Hearing
                        Course Information




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Peggy C. Walters, EdD, MSN . MEd, NEA-BC                                                                                                            P.O. Box 2129
Chair                                                                                                                               Raleigh. North Carolina 27602
Manha Ann Harrell. Public Member                                                                                                                     9 19.782 .32 11
Viu -Chair                                                                                                                                     FAX 9 19.78L9461
Julia L George, RN, MSN, FRE                                                                                                  Nurse Aide ll Regis1ry 9 19.781.7499
Executive Directer                                                                                                                                www.ncbon.com


                 September 3, 2014

                 Ms. Linda Leathers Brixon
                 a£ Lil         I I a, .
                 Greenvilte, NC 27858

                 RE:     Letter of Charges
                         Registered Nurse Certificate/License # 115824

                 Dear Ms·. Brixon,

                         Pursuant to 21 NCAC 36 .0217(9), this Letter of Charges is the formal notification
                 to you that an allegation of possible violations of the Nursing Practice Act has been
                 received by the North Carolina Board of Nursing (Board) and an investigation has been
                 completed.

                          On June 6, 2014, the Board received a complaint that while working at-Vidant
                 Medical Center, you failed to intervene or act, when notified multiple times by a cardiac
                 monitoring technician that a patient was off the cardiac monitor. The statutes and rules
                 at issue include but are not limited to-N:C:~Gen:'Stat.-90-171.37 (8) and 21 NCAC 36
                 .0217(c} (11) and Components .of.Practice'fo~the R~g1stered Nurse 21 NCAC 36.0 2 1 / 4
                 (b) (2) (A) and (B) and (d) (3), ·(4) ·~nd•(~) . .
                                                        ,   •••    •              4   -t·   '\· •       :                                  I.

                          Enclosed with .thi_
                                            s:Lett~rot'charges is a NON-DISClril!!iN,{'RY CONSENT •
                 ORDER that is an offerito ·.you .for resolution of your matter currently.before the Board. If
                 you intend to accept this CONSENT ORDER please return tnis·entire document within
                 ten (10) days (make ~-cgpy~for your records-before retumi~g -if d~~ir~). taking care to
                 Initial each page and:sigri :(Note.your signature must bffNotarlyd), on the last
                 page indicating you~;desire•to accept the Board's offer. . ; ~:· ·,.
                                           •   ~:   .   .. • •         '              • •           ;       •lo-':~   .. ".

                       If you intend to·rejed\~he proposed offer, optioris for resql_
                                                                                    l4io/i include
                 appe~rance before the:Settlem.ent Committee or an -Admini~!r'ative_.Hearing.

                        Settlement Committee consists of an informal meeting with members of the
                Board of Nursing, who review _the case.and provide,.you the opportunity to present any
                mitigating circumstances that would suggest ,fs,i'nction other than the one offered in the
                Letter of Charges. The offer In this,Letter of Charges-will ·be retracted if you elect to
                have your case heard by Settlement Committee: ·,Ari offer for resolution will be made by
                the Settlement Committee. There is a fee ($300.00 per hour)_associated with this
                option. If a settlementis NOT reached, no fee is assessed and the case Is referred for
                Administrative Hearing .




                                     S er ving the Public th r ough Rcgulatnry Excellence


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         An Administrative Hearing is a formal, contested case forum, heard by members
 of the Board of Nursing. Evidence is taken, sworn witness testimony is given and the
 Board makes the decision of appropriate sanction based on information presented. If the
 licensee is found in violation of the Nursing Practice ~ct in this forum, there is an hourly
 fee ($300.00 per hour) associated with this option.

      , If you intend to request to appear before the Settlement Committee for resolution
 of your matter or you would like to request an Administrative Hearing in your matter,
 check the appropriate option on the form enclosed and return to the Board office within
 10 days of the receipt of this Letter of Charges and return the Consent Order
 unsigned.

         If no response is received from you, a Notice of Hearing will be issued setting the
 matter for ~ hearing befor~ the Board.

        Should you have any questions please call me at the number listed below.
 would be happy to assist you.

 Sincerely,



 ~i-~
 M~ry E. Hlard, RN, BSN           ,
 Certified Investigator
 North Carolina Board of "'ursing
 (919) 782-3211 Ext 237
 mhoward@ncbon.com




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